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                                CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was filed electronically in

compliance with Local Rule CV-5(a). As such, this motion was served on all counsel who are

deemed to have consented to electronic service. Local Rule CV-5(a)(3)(A). Pursuant to Fed. R.

Civ. P. 5(d) and Local Rule CV-5(e), all other counsel of record not deemed to have consented to

electronic service were served with a true and correct copy of the foregoing by certified mail,

return receipt requested, on this the 12th day of December, 2008.



                                              /s/ Kurt J. Niederluecke
                                             Kurt J. Niederluecke


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